      Case 1:21-cv-00368-DHU-JHR Document 25 Filed 09/23/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


ALISON ENDICOTT-QUINONES,
Guardian ad Litem, on behalf of
A.D., R.B., E.B., and M.B.,
Minor children,

               Plaintiffs,
v.                                                   Cause No: 21-cv-00368 KG-JHR

PATRICIA GARZA, in her individual
And official capacity, REBECCA LIGGETT,
In her individual and official capacity;
BRENDA SALDANA, in her individual and
official capacity; NEW MEXICO CHILDREN
YOUTH & FAMILIES DEPARTMENT;
And DOES 1-50,

               Defendants.

SECOND NOTICE OF AGREED UPON EXTENSION OF TIME FOR PLAINTIFFS TO
  FILE THEIR RESPONSE TO DEFENDANTS’ MOTION TO DISMISS [DOC. 23]

       Plaintiffs, by and through their Counsel of Record, Benjamin Gubernick, Todd Bullion,

Robert J. Gorence and Jason Bowles, hereby deliver notice to the Court that the parties have

stipulated to extend the deadline for Plaintiffs to file a Response to Defendants’ Motion to Dismiss

filed on August 20, 2021 [Doc. 23] to Friday, October 1, 2021.

                                                     Respectfully submitted,

                                                     GUBERNICK LAW P.L.L.C.

                                                     /s/ Benjamin Gubernick
                                                     BENJAMIN GUBERNICK
                                                     New Mexico Bar No. 145006
                                                     Ben@gubernicklaw.com
                                                     734-678-5169
                                                     10720 W. Indian School Rd.
                                                     Ste. 19 PMB 12
                                                     Phoenix, AZ 85037

                                                     ---and---
      Case 1:21-cv-00368-DHU-JHR Document 25 Filed 09/23/21 Page 2 of 2




                                                   /s/ Robert Gorence
                                                   Robert J. Gorence
                                                   Gorence Law Firm, LLC
                                                   300 Central Ave SW, Suite 1000E
                                                   Albuquerque, NM 87102
                                                   (505) 244-0214
                                                   gorence@golaw.us

                                                   ---and---

                                                   /s/ Jason Bowles
                                                   Jason Bowles
                                                   Bowles Law Firm
                                                   P.O. Box 25186
                                                   Albuquerque, NM 87125-0186
                                                   (505) 217-2680
                                                   jason@bowles-lawfirm.com

                                                   ---and---

                                                   /s/ Todd J. Bullion
                                                   Todd J. Bullion
                                                   300 Central Ave SW, Suite 1000E
                                                   Albuquerque, NM 87102
                                                   (505) 452-7674
                                                   todd@bullionlaw.com

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 23rd day of September, 2021, I filed the foregoing
electronically through the Court’s CM/ECF system, which caused the following counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

       Alfred A. Park
       Lawrence M. Marcus
       James J. Grubel
       apark@parklawnm.com
       lmarcus@parklawnm.com
       jgrubel@parklawnm.com
       Attorneys for Patricia Garza, Rebecca Liggett, Brenda Saldana, and the New Mexico
       Children, Youth, and Families Department

/s/ Robert J. Gorence
Robert J. Gorence




                                               2
